

Brandford v Brandford (2025 NY Slip Op 02055)





Brandford v Brandford


2025 NY Slip Op 02055


Decided on April 9, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 9, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

BETSY BARROS, J.P.
WILLIAM G. FORD
LAURENCE L. LOVE
PHILLIP HOM, JJ.


2020-09084
 (Index No. 55091/17)

[*1]Sherwin Brandford, appellant, 
vSemra Brandford, respondent.


Sherwin Brandford, Brooklyn, NY, appellant pro se.
J. J. Borer, Brooklyn, NY (Wayne A. Cumberbatch of counsel), for respondent.



DECISION &amp; ORDER
In an action for a divorce and ancillary relief, the plaintiff appeals from an order of the Supreme Court, Kings County (Eric I. Prus, J.), dated October 14, 2020. The order, after a hearing, granted those branches of the defendant's motion which were for an award of child support arrears and an award of counsel fees and, in effect, denied those branches of the plaintiff's cross-motion which were for an award of child support, to amend an order of the same court dated November 25, 2019, and to hold the defendant in contempt for failing to comply with a stipulation dated July 16, 2019.
ORDERED that the appeal from so much of the order as granted that branch of the defendant's motion which was for an award of child support arrears and, in effect, denied those branches of the plaintiff's cross-motion which were for an award of child support and to hold the defendant in contempt for failing to comply with a stipulation dated July 16, 2019, is dismissed, as those portions of the order were superseded by an order of the same court dated March 2, 2023, made upon renewal (see Brandford v Brandford, _____ AD3d _____ [Appellate Division Docket No. 2023-03212; decided herewith]); and it is further,
ORDERED that the order is affirmed insofar as reviewed; and it is further,
ORDERED that the defendant is awarded one bill of costs.
The parties were married in August 2016 and had one child during the marriage. In November 2017, the plaintiff commenced this action for a divorce and ancillary relief. In an order dated December 20, 2018, pendente lite spousal maintenance was discontinued, but the plaintiff was directed to continue to pay pendente lite child support in the sum of $650 per month to the defendant. By a stipulation dated July 16, 2019, the parties agreed to share joint custody of the child and to comply with the terms of a certain parental access schedule, and the plaintiff also agreed to continue to pay child support to the defendant in the sum of $650 per month.
Thereafter, when the plaintiff failed to pay child support, the defendant moved, among other things, for an award of child support arrears and an award of counsel fees. The plaintiff cross-moved, inter alia, for an award of child support, to amend an order dated November 25, 2019, [*2]and to hold the defendant in contempt for failing to comply with the July 16, 2019 stipulation. In an order dated October 14, 2020, after a hearing, the Supreme Court, among other things, granted those branches of the defendant's motion and, in effect, denied those branches of the plaintiff's cross-motion. The plaintiff appeals.
Under the circumstances of this case, the Supreme Court providently exercised its discretion in awarding the defendant counsel fees pursuant to Domestic Relations Law § 237(b) (see Matter of Capruso v Kubow, 226 AD3d 680, 684).
The plaintiff's remaining contentions are either without merit or not properly before this Court.
BARROS, J.P., FORD, LOVE and HOM, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








